                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                3:18-cr-340-MOC

UNITED STATES OF AMERICA,              )
                                       )
            vs.                        )
                                       )                     ORDER
ADAM LAWRENCE RANDOLPH, IV,            )
                                       )
                  Defendant.           )
_______________________________________)

       THIS MATTER is before the Court on Defendant’s pro se Motion for Compassionate

Release. (Doc. No. 64).

                                          ORDER

        IT IS, THEREFORE, ORDERED that within 20 days the Government shall file a

response to Defendant’s motion.



                                  Signed: January 26, 2024




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